Case 0:18-cv-61987-KMM Document 1 Entered on FLSD Docket 08/22/2018 Page 1 of 16



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


  DANA MILLER
  individually and on behalf of all
  others similarly situated,                                    CLASS ACTION

          Plaintiff,                                            JURY TRIAL DEMANDED

  v.

  NATURA MIRACLES INC. a New
  York Corporation,

        Defendant.
  __________________________________/

                                      CLASS ACTION COMPLAINT

          Plaintiff Dana Miller brings this class action against Defendant Natura Miracles Inc. and

  alleges as follows upon personal knowledge as to herself and her own acts and experiences, and,

  as to all other matters, upon information and belief, including investigation conducted by her

  attorneys.

                                       NATURE OF THE ACTION

          1.      This is a putative class action under the Telephone Consumer Protection Act, 47 U.S.C.

  § 227 et seq., (“TCPA”), arising from Defendant’s knowing and willful violations of the TCPA.

          2.      Defendant markets itself as “a research, development, production, and marketing

  company passionately committed to producing in the United States of America the world’s finest

  Natural Health and Wellness products.”

          3.      Defendant uses text messages as a means of marketing its business and promoting sales

  events to potential customers.

          4.      As a result of Defendant’s actions, Defendant caused thousands of unsolicited text


                                                    1
Case 0:18-cv-61987-KMM Document 1 Entered on FLSD Docket 08/22/2018 Page 2 of 16



  messages to be sent to the cellular telephones of Plaintiff and Class Members, causing them injuries,

  including invasion of their privacy, aggravation, annoyance, intrusion on seclusion, trespass, and

  conversion.

          5.       Through this action, Plaintiff seeks injunctive relief to halt Defendant’s illegal conduct.

  Plaintiff also seeks statutory damages on behalf of herself and Class Members, as defined below, and

  any other available legal or equitable remedies resulting from the illegal actions of Defendant.

                                      JURISDICTION AND VENUE

          6.      Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges violations of a federal

  statute. Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because Plaintiff alleges a national class,

  which will result in at least one Class member belonging to a different state than Defendant. Plaintiff

  seeks up to $1,500.00 in damages for each call in violation of the TCPA, which, when aggregated among

  a proposed class numbering in the tens of thousands, or more, exceeds the $5,000,000.00 threshold for

  federal court jurisdiction under the Class Action Fairness Act (“CAFA”).

          7.      Venue is proper in the United States District Court for the Southern District of Florida

  pursuant to 28 U.S.C. §§ 1391(b) and (c) because Defendants are deemed to reside in any judicial district

  in which it is subject to the court’s personal jurisdiction, and because Defendant provides and markets

  its services within this district thereby establishing sufficient contacts to subject it to personal

  jurisdiction. Further, on information and belief, Defendant has sent the same text message complained

  of by Plaintiff to other individuals within this judicial district, such that some of Defendant’s acts have

  occurred within this district, subjecting Defendant to jurisdiction here.

                                                  PARTIES

          8.      Plaintiff is a natural person who, at all times relevant to this action, was a resident of

  Broward County, Florida.



                                                       2
Case 0:18-cv-61987-KMM Document 1 Entered on FLSD Docket 08/22/2018 Page 3 of 16



             9.    Defendant’s principal address is located at 404 East 76th Street, Penthouse C, New York,

  New York, 10021. Defendant directs, markets, and provides business activities throughout the State of

  Florida.

                                                THE TCPA

             10.   The TCPA prohibits: (1) any person from calling a cellular telephone number; (2) using

  an automatic telephone dialing system; (3) without the recipient’s prior express consent. 47 U.S.C. §

  227(b)(1)(A).

             11.   The TCPA defines an “automatic telephone dialing system” (“ATDS”) as “equipment

  that has the capacity - (A) to store or produce telephone numbers to be called, using a random or

  sequential number generator; and (B) to dial such numbers.” 47 U.S.C. § 227(a)(1).

             12.   The TCPA exists to prevent communications like the ones described within this

  Complaint. See Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).

             13.   In an action under the TCPA, a plaintiff must show only that the defendant “called a

  number assigned to a cellular telephone service using an automatic dialing system or prerecorded

  voice.” Breslow v. Wells Fargo Bank, N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012), aff'd, 755

  F.3d 1265 (11th Cir. 2014).

             14.   The Federal Communications Commission (“FCC”) is empowered to issue rules and

  regulations implementing the TCPA. According to the FCC’s findings, calls in violation of the TCPA

  are prohibited because, as Congress found, automated or prerecorded telephone calls are a greater

  nuisance and invasion of privacy than live solicitation calls, and such calls can be costly and

  inconvenient. The FCC also recognized that wireless customers are charged for incoming calls whether

  they pay in advance or after the minutes are used.

             15.   In 2012, the FCC issued an order further restricting automated telemarketing calls,



                                                       3
Case 0:18-cv-61987-KMM Document 1 Entered on FLSD Docket 08/22/2018 Page 4 of 16



  requiring “prior express written consent” for such calls to wireless numbers. See In the Matter of Rules

  & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R. 1830, 1838 ¶ 20 (Feb.

  15, 2012) (emphasis supplied).

          16.     To obtain express written consent for telemarketing calls, a defendant must establish

  that it secured the plaintiff’s signature in a form that gives the plaintiff a “‘clear and conspicuous

  disclosure’ of the consequences of providing the requested consent….and [the plaintiff] having received

  this information, agrees unambiguously to receive such calls at a telephone number the [plaintiff]

  designates.” In re Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R.

  1830, 1837 ¶ 18, 1838 ¶ 20, 1844 ¶ 33, 1857 ¶ 66, 1858 ¶ 71 (F.C.C. Feb. 15, 2012).

          17.     The TCPA regulations promulgated by the FCC define “telemarketing” as “the

  initiation of a telephone call or message for the purpose of encouraging the purchase or rental of, or

  investment in, property, goods, or services.” 47 C.F.R. § 64.1200(f)(12). In determining whether a

  communication constitutes telemarketing, a court must evaluate the ultimate purpose of the

  communication. See Golan v. Veritas Entm't, LLC, 788 F.3d 814, 820 (8th Cir. 2015).

          18.     “Neither the TCPA nor its implementing regulations ‘require an explicit mention of a

  good, product, or service’ where the implication of an improper purpose is ‘clear from the context.’”

  Id. (citing Chesbro v. Best Buy Stores, L.P., 705 F.3d 913, 918 (9th Cir. 2012)).

          19.     “‘Telemarketing’ occurs when the context of a call indicates that it was initiated and

  transmitted to a person for the purpose of promoting property, goods, or services.” Golan, 788 F.3d at

  820 (citing 47 C.F.R. § 64.1200(a)(2)(iii) & 47 C.F.R. § 64.1200(f)(12)); In re Rules and Regulations

  Implementing the Telephone Consumer Protection Act of 1991, 18 F.C.C. Rcd at 14098 ¶ 141, 2003

  WL 21517853, at *49).

          20.     The FCC has explained that calls motivated in part by the intent to sell property, goods,



                                                     4
Case 0:18-cv-61987-KMM Document 1 Entered on FLSD Docket 08/22/2018 Page 5 of 16



  or services are considered telemarketing under the TCPA.            See In re Rules and Regulations

  Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶¶ 139-142 (2003).

  This is true whether call recipients are encouraged to purchase, rent, or invest in property, goods, or

  services during the call or in the future. Id.

            21.   In other words, offers “that are part of an overall marketing campaign to sell

  property, goods, or services constitute” telemarketing under the TCPA. See In re Rules and

  Regulations Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶ 136

  (2003).

            22.   If a call is not deemed telemarketing, a defendant must nevertheless demonstrate that it

  obtained the plaintiff’s prior express consent. See In the Matter of Rules and Regulaions Implementing

  the Tel. Consumer Prot. Act of 1991, 30 FCC Rcd. 7961, 7991-92 (2015) (requiring express consent

  “for non-telemarketing and non-advertising calls”).

            23.   Further, the FCC has issued rulings and clarified that consumers are entitled to the same

  consent-based protections for text messages as they are for calls to wireless numbers. See Satterfield v.

  Simon & Schuster, Inc., 569 F.3d 946, 952 (9th Cir. 2009) (The FCC has determined that a text message

  falls within the meaning of “to make any call” in 47 U.S.C. § 227(b)(1)(A)); Toney v. Quality Res., Inc.,

  2014 WL 6757978, at *3 (N.D. Ill. Dec. 1, 2014) (Defendant bears the burden of showing that it

  obtained Plaintiff's prior express consent before sending him the text message). (emphasis added).

            24.   As held by the United States Court of Appeals for the Ninth Circuit: “Unsolicited

  telemarketing phone calls or text messages, by their nature, invade the privacy and disturb the solitude

  of their recipients. A plaintiff alleging a violation under the TCPA ‘need not allege any additional harm

  beyond the one Congress has identified.’” Van Patten v. Vertical Fitness Grp., No. 14-55980, 2017

  U.S. App. LEXIS 1591, at *12 (9th Cir. May 4, 2016) (quoting Spokeo, Inc. v. Robins, 136 S. Ct. 1540,



                                                     5
Case 0:18-cv-61987-KMM Document 1 Entered on FLSD Docket 08/22/2018 Page 6 of 16



  1549 (2016) (emphasis original)).

                                                   FACTS

            25.     On or about August 11, 2018, Defendant caused the following automated text message

  to be transmitted to Plaintiff’s cellular telephone number ending in 9808 (“9808 Number”):




            26.     The text message advertises the “benefits of cannabidiol” and includes a hyperlink to a

  website (the “Website”) under Defendant’s ownership and/or control. A screenshot of the Website is

  depcited below:




                                                                             1




  1
      https://sites.google.com/site/qflhcbd

                                                      6
Case 0:18-cv-61987-KMM Document 1 Entered on FLSD Docket 08/22/2018 Page 7 of 16




                                                                                2


            27.   The Website provides marketing information such as the “benefits of cannabidiol” and

  contains a “RUSH MY ORDER NOW” and “GET MY BOTTLE” button to purchase Defendants

  products.

            28.   When these buttons are clicked, both redirect to another website (the “Check-Out

  Page”) which is owned and/or operated by the Defendant. A screenshot of the Check-Out Page is

  depicted below:




  2
      Id.

                                                   7
Case 0:18-cv-61987-KMM Document 1 Entered on FLSD Docket 08/22/2018 Page 8 of 16




                                                                                                        3




                                                                                                    4


           29.   The Check-Out Page advertsises the benefits of cannabidiol and allows for the purchase



  3
      https://naturahemppure.com/ma/?AFID=437830&C1=0029f86edffc29f397fb38b1f67&C2=
  4
      Id.

                                                   8
Case 0:18-cv-61987-KMM Document 1 Entered on FLSD Docket 08/22/2018 Page 9 of 16



  of Defendant’s products.

            30.   The Check-Out Page also includes the following contact information for the seller of

  the products:




                                                                                     5



            31.   Upon information and belief, Defendant owns and/or operates the 646-649-2655

  telephone number (“2655 Number”) provided on the Check-Out Page.

            32.   Defendant’s principle executive office is located at 404 E 76th Street, PH-C, New York,

  NY 10021, which is the contact address provided on the Check-Out Page.

            33.   Upon information and belief, Defendant also owns and/or operates the website

  www.naturamiraclesinc.com (“Natura Miracles Website”).

            34.   The Natura Miracles Website provides the same 2655 Number and office address as



  5
      Id.

                                                    9
Case 0:18-cv-61987-KMM Document 1 Entered on FLSD Docket 08/22/2018 Page 10 of 16



   those provided on the Check-out Page. A screenshot of the Natura Miracles Website is depicted below:




                                                                                         6



            35.     Upon information and belief, Defendant caused similar text messages to be sent to

   individuals residing within this judicial district.

            36.     At no point in time did Plaintiff provide Defendant with her express consent to be

   contacted with telemarketing text messages using an ATDS.

            37.     Plaintiff is the subscriber and sole user of the 9808 Number.

            38.     The impersonal and generic nature of Defendant’s text messages establishes that

   Defendant utilized an ATDS to transmit the messages. See Jenkins v. LL Atlanta, LLC, No. 1:14-cv-

   2791-WSD, 2016 U.S. Dist. LEXIS 30051, at *11 (N.D. Ga. Mar. 9, 2016) (“These assertions,

   combined with the generic, impersonal nature of the text message advertisements and the use of a short

   code, support an inference that the text messages were sent using an ATDS.”) (citing Legg v. Voice

   Media Grp., Inc., 20 F. Supp. 3d 1370, 1354 (S.D. Fla. 2014) (plaintiff alleged facts sufficient to infer




   6
       www.naturamiraclesinc.com/contact

                                                         10
Case 0:18-cv-61987-KMM Document 1 Entered on FLSD Docket 08/22/2018 Page 11 of 16



   text messages were sent using ATDS; use of a short code and volume of mass messaging alleged would

   be impractical without use of an ATDS); Kramer v. Autobytel, Inc., 759 F. Supp. 2d 1165, 1171 (N.D.

   Cal. 2010) (finding it “plausible” that defendants used an ATDS where messages were advertisements

   written in an impersonal manner and sent from short code); Robbins v. Coca-Cola Co., No. 13-CV-132-

   IEG NLS, 2013 U.S. Dist. LEXIS 72725, 2013 WL 2252646, at *3 (S.D. Cal. May 22, 2013) (observing

   that mass messaging would be impracticable without use of an ATDS)).

           39.     The number (410-200-503) that transmitted the text messages is operated by or on

   behalf of Defendant.

           40.     The number used by Defendant (410-200-503) is known as a “long code” a standard 9-

   digit code that enables Defendant to send SMS text messages en masse.

           41.     Long codes work as follows: Private companies known as SMS gateway providers have

   contractual arrangements with mobile carriers to transmit two-way SMS traffic. These SMS gateway

   providers send and receive SMS traffic to and from the mobile phone networks' SMS centers, which

   are responsible for relaying those messages to the intended mobile phone. This allows for the

   transmission of a large number of SMS messages to and from a long code.

           42.     To send the text messages, Defendant used a messaging platform that permitted

   Defendant to transmit thousands of automated text messages without any human involvement.

           43.     The platform utilized by Defendant has the current capacity or present ability to generate

   or store random or sequential numbers or to dial sequentially or randomly at the time the call is made,

   and to dial such numbers, en masse, in an automated fashion without human intervention.

           44.     Defendant’s unsolicited text message caused Plaintiff actual harm, including invasion

   of her privacy, aggravation, annoyance, intrusion on seclusion, trespass, and conversion. Defendant’s

   text message also inconvenienced Plaintiff and caused disruption to her daily life.



                                                      11
Case 0:18-cv-61987-KMM Document 1 Entered on FLSD Docket 08/22/2018 Page 12 of 16



                                           CLASS ALLEGATIONS

                 PROPOSED CLASS

           45.      Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23, on behalf of

   herself and all others similarly situated.

           46.      Plaintiff brings this case on behalf of the below defined Class:

                        All persons within the United States who, within the four
                        years prior to the filing of this Complaint, were sent a text
                        message using the same type of equipment, from
                        Defendant or anyone on Defendant’s behalf, to said
                        person’s cellular telephone number, advertising
                        Defendant’s services, without the recipients’ prior express
                        written consent.

           47.      Defendant and their employees or agents are excluded from the Class. Plaintiff does not

   know the number of members in the Class but believes the Class members number in the several

   thousands, if not more.

              NUMEROSITY

           48.      Upon information and belief, Defendant has placed automated calls to cellular telephone

   numbers belonging to thousands of consumers throughout the United States without their prior express

   consent. The members of the Class, therefore, are believed to be so numerous that joinder of all

   members is impracticable.

           49.      The exact number and identities of the Class members are unknown at this time and can

   be ascertained only through discovery. Identification of the Class members is a matter capable of

   ministerial determination from Defendants’ call records.

                 COMMON QUESTIONS OF LAW AND FACT

           50.      There are numerous questions of law and fact common to the Class which predominate

   over any questions affecting only individual members of the Class. Among the questions of law and


                                                       12
Case 0:18-cv-61987-KMM Document 1 Entered on FLSD Docket 08/22/2018 Page 13 of 16



   fact common to the Class are:

                        (1) Whether Defendant made non-emergency calls to Plaintiff and Class members’

                            cellular telephones using an ATDS;

                        (2) Whether Defendant can meet their burden of showing that it obtained prior

                            express written consent to make such calls;

                        (3) Whether Defendant’s conduct was knowing and willful;

                        (4) Whether Defendant is liable for damages, and the amount of such damages; and

                        (5) Whether Defendant should be enjoined from such conduct in the future.

           51.      The common questions in this case are capable of having common answers. If Plaintiff’s

   claim that Defendant routinely transmits text messages to telephone numbers assigned to cellular

   telephone services is accurate, Plaintiff and the Class members will have identical claims capable of

   being efficiently adjudicated and administered in this case.

                 TYPICALITY

           52.      Plaintiff’s claims are typical of the claims of the Class members, as they are all based

   on the same factual and legal theories.

                 PROTECTING THE INTERESTS OF THE CLASS MEMBERS

           53.      Plaintiff is a representative who will fully and adequately assert and protect the interests

   of the Class and has retained competent counsel. Accordingly, Plaintiff is an adequate representative

   and will fairly and adequately protect the interests of the Class.

                 PROCEEDING VIA CLASS ACTION IS SUPERIOR AND ADVISABLE

           54.      A class action is superior to all other available methods for the fair and efficient

   adjudication of this lawsuit, because individual litigation of the claims of all members of the Class is

   economically unfeasible and procedurally impracticable. While the aggregate damages sustained by the



                                                        13
Case 0:18-cv-61987-KMM Document 1 Entered on FLSD Docket 08/22/2018 Page 14 of 16



   Class are in the millions of dollars, the individual damages incurred by each member of the Class

   resulting from Defendant’s wrongful conduct are too small to warrant the expense of individual

   lawsuits. The likelihood of individual Class members prosecuting their own separate claims is remote,

   and, even if every member of the Class could afford individual litigation, the court system would be

   unduly burdened by individual litigation of such cases.

             55.   The prosecution of separate actions by members of the Class would create a risk of

   establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For example,

   one court might enjoin Defendant from performing the challenged acts, whereas another may not.

   Additionally, individual actions may be dispositive of the interests of the Class, although certain class

   members are not parties to such actions.

                                               COUNT I
                              Violations of the TCPA, 47 U.S.C. § 227(b)
                                (On Behalf of Plaintiff and the Class)

             56.   Plaintiff re-alleges and incorporates the foregoing allegations as if fully set forth

   herein.

             57.   It is a violation of the TCPA to make “any call (other than a call made for emergency

   purposes or made with the prior express consent of the called party) using any automatic telephone

   dialing system … to any telephone number assigned to a … cellular telephone service ….” 47 U.S.C. §

   227(b)(1)(A)(iii).

             58.   Defendant – or third parties directed by Defendant – used equipment having the capacity

   to dial numbers without human intervention to make non-emergency telephone calls to the cellular

   telephones of Plaintiff and the other members of the Class defined below.

             59.   These calls were made without regard to whether or not Defendant had first obtained

   express permission from the called party to make such calls. In fact, Defendant did not have prior



                                                      14
Case 0:18-cv-61987-KMM Document 1 Entered on FLSD Docket 08/22/2018 Page 15 of 16



   express consent to call the cell phones of Plaintiff and the other members of the putative Class when its

   calls were made.

            60.    Defendant has, therefore, violated § 227(b)(1)(A)(iii) of the TCPA by using an

   automatic telephone dialing system to make non-emergency telephone calls to the cell phones of

   Plaintiff and the other members of the putative Class without their prior express written consent.

            61.    Defendant knew that it did not have prior express consent to make these calls and knew

   or should have known that it was using equipment that at constituted an automatic telephone dialing

   system. The violations were therefore willful or knowing.

            62.    As a result of Defendant’s conduct and pursuant to § 227(b)(3) of the TCPA, Plaintiff

   and the other members of the putative Class were harmed and are each entitled to a minimum of $500.00

   in damages for each violation. Plaintiff and the class are also entitled to an injunction against future

   calls. Id.

            63.    Because Defendant knew or should have known that Plaintiff and the other members of

   the putative Class had not given prior express consent to receive its autodialed calls to their cellular

   telephones the Court should treble the amount of statutory damages available to Plaintiff and the other

   members of the putative Class pursuant to § 227(b)(3) of the TCPA.

            WHEREFORE, Plaintiff Dana Miller, on behalf of herself and the other members of the

   Class, prays for the following relief:

            a.     A declaration that Defendant’s practices described herein violate the Telephone

   Consumer Protection Act, 47 U.S.C. § 227;

            b.     A declaration that Defendant’s violations of the Telephone Consumer Protection

   Act, 47 U.S.C. § 227, were willful and knowing;




                                                      15
Case 0:18-cv-61987-KMM Document 1 Entered on FLSD Docket 08/22/2018 Page 16 of 16



           c.      An injunction prohibiting Defendant from using an automatic telephone dialing

   system to call and text message telephone numbers assigned to cellular telephones without the

   prior express consent of the called party;

           d.      An award of actual, statutory damages, and/or trebled statutory damages; and

           e.      Such further and other relief the Court deems reasonable and just.

                                              JURY DEMAND

            Plaintiff and Class Members hereby demand a trial by jury.

                               DOCUMENT PRESERVATION DEMAND

           Plaintiff demands that Defendant take affirmative steps to preserve all records, lists, electronic

   databases or other itemization of telephone numbers associated with Defendants and the communication

   or transmittal of the text messages as alleged herein.

   Date: August 22, 2018



                                                                    Respectfully submitted,


                                                                    HIRALDO P.A.

                                                                    /s/ Manuel S. Hiraldo____________
                                                                    Manuel S. Hiraldo
                                                                    Florida Bar No. 030380
                                                                    401 E. Las Olas Boulevard
                                                                    Suite 1400
                                                                    Ft. Lauderdale, Florida 33301
                                                                    Email: mhiraldo@hiraldolaw.com
                                                                    Telephone: 954.400.4713
                                                                    Counsel for Plaintiff




                                                      16
